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                         IN THE UNITED STATES DISTRICT COURT

                        FOR THE EASTERN DISTRICT OF VIRGINIA

                                        Richmond Division

TONYA CAMPBELL et al.,
on behalf of themselves and
all others similarly situated,
        Plaintiffs,

       v.                                                     Civil No. 3-22cv34 (DJN)

INTERCONTINENTAL CAPITAL
GROUP, INC.,
     Defendant.
                                             ORDER
                                         (Extending Time)

       This matter comes before the Court on the parties’ Joint Status Report, notifying the

Court that the parties expect to settle this matter soon and requesting a stay of this case until June

3, 2022 (ECF No. 18). For good cause shown, and because the parties agree, the Court hereby

GRANTS the Motion and STAYS this case until June 3, 2022.

       Let the Clerk file a copy of this Order electronically and notify all counsel of record.

       It is so ORDERED.

                                                       _________/s/____________
                                                       David J. Novak
                                                       United States District Judge

Richmond, Virginia
Dated: May 24, 2022
